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UNITED STATES DISTRICT COURT

EASTERN DISTRICT OF LOUISIANA

In re: VIOXX MARKETING, SALES MDL No. 1657
PRACTICES AND PRODUCTS LIABILITY
LITIGATION SECTION L

JUDGE ELDON E. FALLON

MAGISTRATE JUDGE
DANIEL E. KNOWLES, III

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THIS DOCUMENT RELATES TO: Ruben Miranda Velez et al. v. Merck & Co., Inc., Case
No. 05-4590 (Roberto Negron Perez, Margarita Nieves Garcia, Zoraida Onofre Ramos,
Teresa Oquendo Rivera, Haydee Ortiz Felix, Marta Ortiz Morales, Jeffry Ortiz Ortiz,
Rosa Otero Soto, Jose L. Oyola Claussells, and Santos Pagan Ortiz only)

ORDER OF PARTIAL DISMISSAL WITHOUT PREJUDICE

Considering the foregoing Stipulation of Partial Dismissal Without Prejudice,

IT IS ORDERED, ADJUDGED AND DECREED that the claims of Plaintiffs Roberto
Negron Perez, Margarita Nieves Garcia, Zoraida Onofre Ramos, Teresa Oquendo Rivera,
Haydee Ortiz Felix, Marta Ortiz Morales, Jeffry Ortiz Ortiz, Rosa Otero Soto, Jose L. Oyola
Claussells, and Santos Pagan Ortiz be and the same are hereby dismissed without prejudice, each
party to bear their own costs.

New Orleans, Louisiana, this day of , 2007,

UNITED STATES DISTRICT JUDGE
